Case 2:03-cr-20094-.]Pi\/| Document 122 Filed 07/19/05 Page 1 of 5 .PagelD 160

UN|TED STATES DlSTRlCT COURT D c

WESTERN DlSTRlCT OF TENNESSEE Ef’il.ETl’ 5"' ' ‘
MEMPH|S DlV|SlON

05 JUL l Pl‘i 3=\1\\

UN|TED STATES OF AMER|CA

 

TiiOiii\S i.i. GOULD
-v- 2:03cR20094-01-Ml CLH§§DU(-\§i W§W:`TM
DAVID HERNANDEZ
Car|os O|ivo-Perez Retained
Defense Attorney
80-02 Kew Gardens Road
Ste. 1040

Kew Gardens, NY 11415

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant was found guilty on Count 6 of the indictment on December 15, 2004.
Accordingiy, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Tiue & section MQ.MQS_¢% offense Misi
Conc|uded
18 U.S.C. §1001(3)(2) Fa|se Statements to a Federa| Agency 03/07/2002 6

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Nlandatory
Victims Restitution Act of 1996.

The defendant has been found not guilty on counts 1 through 5.

lT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 11101/1962 July 18, 2005
Deft's U.S. iviarshal No.: 18899-076

Defendant's Maiiing Address:
165 Neison Drive

erighton, TN 33011 /@A pam gm

J N PH|PPS MCCCALLA
lTED TATES DlSTRlCT JUDGE
` July f§ , 2005

This document entered on the docket sheet in compliance
with i-iuie ;.-5_'~ and/or 32(|;)) i~`RL'.;rP on "

Case 2:03-cr-20094-.]Pi\/| Document 122 Filed 07/19/05 Page 2 of 5 PagelD 161

Case No: 2103CR20094-01-M! Defendant Name: David HERNANDEZ Page 2 of 4

PROBAT|ON

The defendant is hereby placed on probation for a term of 2 Years.

While on probation, the defendant shall not commit another federal, state, or local
crime and shall not illegally possess a firearm, ammunition, destructive device, or
dangerous weapons. The defendant shall also comply with the standard conditions that
have been adopted by this court (set forth beiow). if this judgment imposes a fine or a
restitution obligation, it shall be a condition of probation that the defendant pay any such nle
or restitution

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed by the probation ocher.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation ofticer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ocher and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(‘lO) days prior to any change in residence or
empioyment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation ofncer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activityl and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer',

9. The defendant shaft permit a probation ocher to visit him or her at any time at horne or elsewhere and
shaft permit confiscation of any contraband observed in plain view by the probation ofhcer;

10. The defendant shall notify the probation ofncer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:03-cr-20094-.]Pi\/| Document 122 Filed 07/19/05 Page 3 of 5 PagelD 162

Case No: 2:03CR20094-01-M| Defendant Name: David HERNANDEZ Page 3 of 4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation ocher, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

13. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Scheduie of Payments set
forth in the Criminal l'vlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in the Home Detention program for a period of 6 Months.
During this time, defendant will remain at defendants place of residence except for
employment and other activities approved in advance by the Defendant’s Probation Officer.
The defendant shall be allowed to continue his work as an over-the-road truck driver
and be allowed to stay in contact with the Probation Officer via telephone while
working outside the district. Defendant will be subject to the standard conditions of Home
Detention adopted for use in the Westem District of Tennessee, which may include the
requirement to wear an electronic monitoring device and to follow electronic monitoring
procedures specified by the Probation Offlcer. Further, the defendant shall be required to
contribute to the costs of services for such monitoring not to exceed an amount determined
reasonable by the Probation Officer.

2. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Ofnce.

3. The defendant shall cooperate with DNA collection as directed by the Probation Officer.

CR|M|NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Scheduie of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

Case 2:03-cr-20094-.]Pi\/| Document 122 Filed 07/19/05 Page 4 of 5 PagelD 163

Case No: 2:03CR20094-01-Ml Defendant Name: David HERNANDEZ Page 4 of 4

The Speciai Assessment shall be due immediately.
FlNE
No fine imposed.
RESTITUT|ON

No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 122 in
case 2:03-CR-20094 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

ENNESSEE

 

.1 oseph C. Murphy

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1\/1emphis7 TN 38105

Honorable .1 on McCalla
US DlSTRlCT COURT

